






COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS









IN THE INTEREST OF


J.B. AND E.B., MINOR CHILDREN


§


 


§


 


§


 


§


 


§



§

No. 08-07-00300-CV



Appeal from


 112th District Court


of Pecos County, Texas


(TC # P-10511-112-CV)




O P I N I O N



	Richard Bortner, Jr. appeals from a judgment terminating his parental rights.  Finding no
error, we affirm.

	Bortner is represented on appeal by court-appointed counsel (1)
 who has filed a brief in
accordance with the requirements of Anders v. California, 386 U.S. 738, 741-44, 87 S.Ct. 1396,
1398-1400, 18 L.Ed.2d 493 (1967). Court-appointed counsel has concluded that, after thorough
review of the record, Bortner's appeal is frivolous and without merit.  In Anders, the Supreme Court
recognized that counsel, though appointed to represent the appellant in an appeal from a criminal
conviction, had no duty to pursue a frivolous matter on appeal.  Anders, 386 U.S. at 744, 87 S.Ct.
at 1400.  Thus, counsel was permitted to withdraw after informing the court of his conclusion and
the effort made in arriving at that conclusion.  Id.

	The Texas Supreme Court has not addressed whether Anders applies to an appeal from a
termination of parental rights.  However, several intermediate appellate courts have concluded that
the procedures set forth in Anders are applicable when an appointed attorney concludes that there
are no non-frivolous issues to assert on appeal.  See Taylor v. Texas Dept. of Protective and
Regulatory Services, 160 S.W.3d 641, 646-47 (Tex.App.--Austin 2005, pet. denied); In re D.E.S.,
135 S.W.3d 326, 329 (Tex.App.--Houston [14th Dist.] 2004, no pet.); In re K.D., 127 S.W.3d 66,
67 (Tex.App.--Houston [1st Dist.] 2003, no pet.); Porter v. Texas Department of Protective &amp;
Regulatory Services, 105 S.W.3d 52, 56 (Tex.App.--Corpus Christi 2003, no pet.); In re K.M., 98
S.W.3d 774, 777 (Tex.App.--Fort Worth 2003, no pet.); In re E.L.Y., 69 S.W.3d 838, 841
(Tex.App.--Waco 2002, no pet.); In re K.S.M., 61 S.W.3d 632, 634 (Tex.App.--Tyler 2001, no pet.);
In re A.W.T., 61 S.W.3d 87, 88 (Tex.App.--Amarillo 2001, no pet.).  We agree with our sister courts
and therefore hold that Anders is applicable to an appeal from a termination of parental rights where
court-appointed counsel has determined that the appeal is frivolous.

	Court-appointed counsel's brief meets the requirements of Anders by advancing contentions
which might arguably support the appeal.  See Anders, 386 U.S. 744, 87 S.Ct. at 1400; High v. State, 
573 S.W.2d 807 (Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App. 1974). 
Counsel has established that she provided Bortner with a copy of the Anders brief, notified him of
his right to file a pro se brief, and explained how he could obtain a copy of the appellate record. 
Bortner has not filed a pro se brief.  Having thoroughly reviewed the record and counsel's brief, we
agree with counsel's assessment that the appeal is frivolous and without merit.  A further discussion
of the arguable grounds advanced in counsel's brief would add nothing to the jurisprudence of the
state.  The judgment is affirmed.


February 5, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.

Carr, J., not participating
1.   The trial court appointed counsel to represent Bortner pursuant to Section 107.013 of the Family Code. 
Tex.Fam.Code Ann. § 107.013 (Vernon Pamph. 2008).  The court appointed a different attorney to represent Bortner
on appeal.  



